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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

   QUINTIN-JOHN D’AGIRBAUD, III, )              CIVIL NO. 18-00021 JMS-WRP
                                 )
                 Plaintiff,      )              ORDER GRANTING PLAINTIFF’S
                                 )              MOTION FOR AN ORDER TO
            vs.                  )              COMPEL DEFENDANT’S
                                 )              COOPERATION TO ANSWER
   SARAH ALANZO-CABARDO, ET      )              PLAINTIFF’S
   AL.,                          )              INTERROGATORIES AND
                                 )              PRODUCTION OF DOCUMENTS
                 Defendants.     )
                                 )

       ORDER GRANTING PLAINTIFF’S MOTION FOR AN ORDER TO
     COMPEL DEFENDANT’S COOPERATION TO ANSWER PLAINTIFF’S
        INTERROGATORIES AND PRODUCTION OF DOCUMENTS

               Before the Court is Plaintiff’s Motion for an Order to Compel

  Defendant’s Cooperation to Answer Plaintiff’s Interrogatories and Production of

  Documents, filed on September 12, 2019 (Motion). See ECF No. 71. The Court

  finds this matter suitable for disposition without a hearing pursuant to Rule 7.1(c)

  of the Local Rules of Practice of the United States District Court for the District of

  Hawaii (Local Rules).

               In the Motion, Plaintiff asks the Court to compel Defendants to

  respond to Plaintiff’s First Request for Answers to Interrogatories and Production

  of Documents mailed to Defendants’ counsel on July 16, 2019. Id. at 1-2.

  Defendants filed a Response to Plaintiff’s Motion noting that Plaintiff did not
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  comply with the meet and confer requirements in the Local Rules before filing his

  Motion but stating that “the referenced responses will be delivered in the near

  future.” ECF No. 72.

               The discovery deadline in this case is October 8, 2019. See ECF No.

  63. There is no dispute that Defendants have failed to provide discovery responses

  that were served more than two months ago. Although it does not appear that

  Plaintiff met and conferred in person or by telephone with Defendants’ counsel

  prior to filing the present Motion as contemplated by Local Rule 37.1, given that

  Plaintiff is proceeding pro se and is currently incarcerated, the Court will consider

  Plaintiff’s Motion.

               Based on the lack of opposition and finding good cause in support

  thereof, the Court GRANTS Plaintiff’s request to compel Defendants to respond to

  Plaintiff’s First Request for Answers to Interrogatories and Production of

  Documents. Defendants shall serve their written responses and produce documents

  responsive to the requests no later than September 27, 2019. Defendants shall file

  a Certificate of Service with the Court reflecting their compliance.

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              IT IS SO ORDERED.

              DATED AT HONOLULU, HAWAII, SEPTEMBER 17, 2019.




  D’AGIRBAUD vs. ALANZO-CABARDO, ET AL.; CIVIL NO. 18-00021 JMS-
  WRP; ORDER GRANTING PLAINTIFF’S MOTION FOR AN ORDER TO
  COMPEL DEFENDANT’S COOPERATION TO ANSWER PLAINTIFF’S
  INTERROGATORIES AND PRODUCTION OF DOCUMENTS




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